                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO. 3:11-cr-00195-MOC

UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                                           )
Vs.                                        )                     ORDER
                                           )
DETRICK RAYSHAWN GADDY,                    )
                                           )
               Defendant.                  )



      THIS MATTER is before the court on defendant’s letter received November 26, 2014,

requesting a recommendation that defendant be considered by the BOP for community

confinement under the Second Chance Act based on accomplishments while incarcerated. Title

18, United States Code, Section 3621(b), provides in relevant part as follows:

      (b) Place of Imprisonment.— The Bureau of Prisons shall designate the
      place of the prisoner’s imprisonment. The Bureau may designate any
      available penal or correctional facility that meets minimum standards of
      health and habitability established by the Bureau, whether maintained by
      the Federal Government or otherwise and whether within or without the
      judicial district in which the person was convicted, that the Bureau
      determines to be appropriate and suitable, considering—
                                           ***
      (4) any statement by the court that imposed the sentence—
             (A) concerning the purposes for which the sentence to
             imprisonment was determined to be warranted; or
             (B) recommending a type of penal or correctional facility as
             appropriate . . . .

18 U.S.C. § 3621(b).

      The Second Chance Act, cited by petitioner, impacts placement in a Residential

Re-Entry Center (“RRC”), which is allowed under Section 3621, and provides as follows



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in pertinent part:

       The Director of the Bureau of Prisons shall, to the extent practicable, ensure
       that a prisoner serving a term of imprisonment spends a portion of the final
       months of that term (not to exceed 12 months), under conditions that will
       afford that prisoner a reasonable opportunity to adjust to and prepare for the
       reentry of that prisoner into the community. Such conditions may include a
       community correctional facility.

18 U.S.C. § 3624(c)(1). Placement of an inmate in an RRC during the final portion of his

sentence is sometimes referred to as “pre-release RRC placement” and placement of an

inmate in an RRC at any other point during his sentence pursuant to § 3621(b) is called

an “anytime RRC placement.” Delfino v. Berkebile, 2011 WL 1088013, *3 (S.D.W.Va.

March 23, 2011).

       To the extent petitioner asks that the court grant relief in the first instance under

the Second Chance Act, the provisions of 18, United States Code, Section 3624(c),

concern actions to be taken by the Director of the Bureau of Prisons, not the court.

Whether to place a person in any pre-release program appears to be a duty delegated to

the Executive Branch and not the Judiciary. Matters Congress delegates to the Director

of the Bureau of Prisons are not left to the discretion of the courts. See United States v.

Stubbs, No. 97-4948, 1998 WL 387253, at *1 (4th Cir. June 24, 1998) (per curiam)

(citing United States v. Wilson, 503 U.S. 329 (1992)). The Director of Bureau of Prisons

is uniquely qualified to determine what re-entry programs are appropriate for an

incarcerated person as the Director is familiar with petitioner’s adjustment and

accomplishments while incarcerated, while the court has no credible basis for making any

such determination.




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       Put another way, the court is not in a position to make the call. The appropriate

referee of those decisions – and the one Congress has designated -- is the BOP because

they have had the unique opportunity to observe Mr. Gaddy’s progress and achievements

while incarcerated.

                                         ORDER

       IT IS, THEREFORE, ORDERED that to the extent defendant seeks relief in his Letter

(#51) under the Second Chance Act, such request is denied without prejudice as to pursuing such

request with BOP and his case manager.


 Signed: December 2, 2014




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